Case 3:17-cv-00939-WHA Document 2501-21 Filed 01/19/18 Page 1 of 5
  Case 3:17-cv-00939-WHA Document 2501-21 Filed 01/19/18 Page 2 of 5


                                                                       Page 1
              UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA

                  SAN FRANCISCO DIVISION

__________________________________

WAYMO LLC,                         )
                                   )
              Plaintiff,           )
   vs.                             )          Case No.
                                   )          17-cv-00939-WHA
UBER TECHNOLOGIES, INC.;           )
OTTOMOTTO, LLC; OTTO TRUCKING LLC, )
                                   )
             Defendants.           )
                                   )
                                   )
___________________________________)




 HIGHLY CONFIDENTIAL--OUTSIDE COUNSEL'S EYES ONLY

                VIDEOTAPED DEPOSITION OF

                  OGNEN STOJANOVSKI, ESQ.

                San Francisco, California

                  Thursday, July 20, 2017

                          Volume I




Reported by:
MARY J. GOFF
CSR No. 13427

Job No. 2663397

PAGES 1-321
       Case 3:17-cv-00939-WHA Document 2501-21 Filed 01/19/18 Page 3 of 5


                                                                        Page 33
 1   Sandstone Group, right?                                           09:37:48

 2        A     I had not met John Gardner before he                   09:37:48

 3   called me.                                                        09:37:50

 4        Q     So -- so my question is:        Why -- why did         09:37:51

 5   he think to call you?                                             09:37:54

 6              MR. SAWYER:     Objection, form.                       09:37:56

 7              MS. RAY:    Join.                                      09:37:58

 8        A     He told me that he had gotten my name from             09:38:02

 9   Anthony Levandowski.                                              09:38:06

10        Q     And what else do you remember about that               09:38:11

11   conversation when he called you?                                  09:38:14

12        A     He called me to tell me that he was in the             09:38:15

13   process of forming an investment company and asked                09:38:20

14   if I would be interested in being his manager.           That     09:38:26

15   was the gist of the first conversation.                           09:38:30

16        Q     Does Anthony Levandowski have any                      09:38:38

17   ownership interest in the Bismuth Trust?                          09:38:43

18        A     I don't know.                                          09:38:46

19        Q     Have you ever communicated with Anthony                09:38:46

20   Levandowski about the Bismuth Trust?                              09:38:50

21        A     Have I communicated with Anthony                       09:38:54

22   Levandowski about the Bismuth?        Yes, I have.                09:38:56

23        Q     How many times have you communicated with              09:39:00

24   Anthony Levandowski about the Bismuth Trust?                      09:39:02

25        A     Once or twice.                                         09:39:07
       Case 3:17-cv-00939-WHA Document 2501-21 Filed 01/19/18 Page 4 of 5


                                                                        Page 34
 1        Q     When was the first communication you had               09:39:09

 2   with Anthony Levandowski about the Bismuth Trust?                 09:39:11

 3        A     Probably right around the time of the                  09:39:18

 4   formation of Sandstone.      Maybe -- maybe September or          09:39:20

 5   August of 2012.    The same time frame.                           09:39:23

 6        Q     And tell me everything you remember about              09:39:30

 7   that conversation.                                                09:39:32

 8        A     That was a very brief conversation.          I         09:39:33

 9   just asked him whether he owned the Bismuth Trust.                09:39:36

10        Q     What did he say in response?                           09:39:42

11        A     He said he did not.                                    09:39:43

12        Q     Was that conversation in person or over                09:39:46

13   the phone?                                                        09:39:48

14        A     I think it was in person.                              09:39:51

15        Q     Where did that conversation take place?                09:39:54

16        A     It took place in Berkeley, California.                 09:39:58

17        Q     Why in Berkeley?                                       09:40:07

18        A     I'm trying to remember.         It was either at       09:40:08

19   his house or at the initial offices of Odin Wave,                 09:40:11

20   which is                                                          09:40:15

21              THE COURT REPORTER:       Of?                          09:40:17

22        A     Huh?   It was either his --                            09:40:20

23              THE COURT REPORTER:       It was?                      09:40:20

24        A     -- Odin Wave, O D I N W A V E, which is                09:40:20

25                      in Berkeley.                                   09:40:26
Case 3:17-cv-00939-WHA Document 2501-21 Filed 01/19/18 Page 5 of 5

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